Filed 06/03/19                                                                                        Case 19-21640                                               Doc 50



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                                                                   Peter Cianchetta, SBN: 220971
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                                                                   CIANCHETTA & ASSOCIATES
                                                              3    8788 Elk Grove Blvd., Suite 2A
                                                                   Elk Grove, California 95624
                                                              4    Ph: (916) 685-7878
                                                                   plc@eglaw.net
                                                              5
                                                                   Attorney for Deborah Leigh Miller-Zuranich
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                                                                                         UNITED STATES BANKRUPTCY COURT
                                                              8
                                                                                          EASTERN DISTRICT OF CALIFORNIA
                                                              9
                                                                       In re:                                       Case No. 2019-21640
                                                              10
   CIANCHETTA & ASSOCIATES




                                                              11       Deborah Leigh Miller-Zuranich                DCN: PLC-03
                             8788 Elk Grove Blvd., Suite 2A




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                                                                                                      ,Debtors      Hearing Date: June 9, 2019
                                 Elk Grove, CA 95624




                                                              13                                                    Hearing Time: 1:00 p.m.
                                                                                                                    Hon. Christopher D. Jaime
                                                              14
                                                                                                                    Courtroom 32 - Dept B
                                                              15
                                                                                         MOTION TO CONFIRM CHAPTER 13 PLAN
                                                              16

                                                              17       Peter Cianchetta, the attorney for Deborah Leigh Miller-Zuranich, the Debtor, hereby
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                                                                       moves this Court for an Order Confirming first Amended Chapter 13 Plan. In support of
                                                              19
                                                                       this Motion, the Debtor respectfully represents:
                                                              20
                                                                       1. This case was commenced by the filing of a voluntary petition on behalf of the Debtor
                                                              21
                                                                           on March 18, 2019. Jan P. Johnsonhas been duly appointed to serve as the Chapter
                                                              22

                                                              23           13 Trustee on this case.

                                                              24       2. Pursuant to Title 11, US Codes §341, a Meeting of Creditors was conducted by the

                                                              25           Chapter 13 Trustee on May 30, 2019. The Trustee has since concluded this meeting.
                                                              26       3. A Chapter 13 Plan was originally filed on May 1, 2019.
                                                              27
                                                                       4. The Plan was amended on May 29, 2019, Doc No. 48.
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                                                              1    5. The first Amended Plan has been proposed in good faith.

                                                              2    6. The first Amended Plan proposes to pay the allowed unsecured claims an amount not
                                                              3       less than they would have been paid if the estate of the Debtor was liquidated under
                                                              4
                                                                      the provisions of Title 11, US Codes, Chapter 7.
                                                              5
                                                                   7. The Debtor has made all payments to the Trustee pursuant to the provisions of the first
                                                              6
                                                                      Amended Plan.
                                                              7
                                                                   8. The Debtor has no Domestic Support Obligation.
                                                              8

                                                              9    9. Pursuant to 11 US Codes §1308, the Debtor has filed all applicable Federal, State and

                                                              10      Local tax returns.
   CIANCHETTA & ASSOCIATES




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                             8788 Elk Grove Blvd., Suite 2A




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                                 Elk Grove, CA 95624




                                                              13   Respectfully submitted on June 3, 2019.

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                                                              15                                             Cianchetta & Associates
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                                                              17                                             /s/ Peter Cianchetta_________
                                                                                                             Peter Cianchetta, Attorney for
                                                              18                                             Deborah Leigh Miller-Zuranich

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